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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )   Chapter 11
                                                         )
    WARDMAN HOTEL OWNER, L.L.C.,                         )   Case No. 21-10023 (JTD)
                                                         )
                            Debtor. 1                    )   Ref. No. 146, 227
                                                         )
                                                         )

 ORDER GRANTING JOINT MOTION OF UNITE HERE LOCAL 25 AND LOCAL 99,
INTERNATIONAL UNION OF OPERATING ENGINEERS FOR RELIEF FROM STAY
              TO PURSUE ARBITRATION TO DETERMINE
       DEBTOR’S CONTRACTUAL OBLIGATIONS TO THE MOVANTS

             The Court has considered the Joint Motion of UNITE HERE Local 25 and Local 99,

International Union of Operating Engineers (collectively, “the Unions”), to Compel Debtor’s

Compliance with its Obligations Under Section 1113 or, in the Alternative, for Relief from Stay

to Pursue Arbitration to Determine Debtor’s Contractual Obligations to the Movants (the

“Motion”). 2 The Court has reviewed the Motion, the accompanying declarations and exhibits,

and the responses filed to the Motion. The Court has found that (i) the Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), such that the Court may

enter a final order consistent with Article III of the United States Constitution; (iii) venue of this

proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

(iv) notice of the Motion and the Hearing was sufficient. After due deliberation, following a

hearing held on May 11, 2021 (the “Hearing”), the Court has determined for the reasons set forth


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  The last four digits of the taxpayer identification number for the Debtor are 9717. The mailing address for the
Debtor is 5035 Riverview Road, NW, Atlanta, Georgia 30327.
2
  Capitalized terms not defined herein shall have the same meaning as defined in the Motion.
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on the record of the Hearing that there is cause to grant relief from the automatic stay to allow

the Unions to proceed to arbitration.

       ACCORDINGLY, IT IS HEREBY ORDERED as follows:

           1. The Motion is GRANTED, as set forth herein.

           2. The Unions are granted relief from the automatic stay to pursue arbitration with

               the Debtor to determine whether, under the provisions of the Owner’s Letter,

               upon its termination of Marriott as operator on January 11, 2021, the Debtor

               became contemporaneously bound to Marriott’s collective bargaining agreements

               with UNITE HERE, Local 25, and IUOE, Local 99 and their respective terms and

               conditions as a successor.

           3. This Order shall be fully effective and enforceable immediately upon entry,

               notwithstanding the fourteen (14) day stay under Bankruptcy Rule 4001(a)(3), to

               the extent that rule applies.

           4. This Court shall retain jurisdiction with respect to all matters arising from or

               related to the implementation or interpretation of this Order.




       Dated: May 18th, 2021                              JOHN T. DORSEY
       Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE



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